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CIVIL DOCKET CONTINUATION SHEET

PLAIN TLE PF DEFENDANT

IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

DATE ~ NRL” PROCEEDINGS

L999 :
May 17 8084 PROOF of Claim Form For Torture Victims by Pedro Sabaduquia Borja, Deceased by
. Anita M. Borja
: 8085 PROOF of Claim Form For Torture Victims by Gina delog Santos
/8086 PROOF of Claim Form For Torture Victims by Rogelio Lumangyac, Deceased by

: Lourdista C. Lumangyao
8087 PROOF of Claim Form For Torture Victims by Tripon A. Gultia, Deceased by Julieta

: Gultia
. 8088 _ PROOF of Claim Form For Torture Victims by Narcisa Ayuda, Deceased by Laurencio
: i A. Bareija
: 8089  PROGF of Claim Form For Torture Victims by Reymundo Sagrado, Deceased by Rene
Sagrado

8090 PROOF of Claim Form For Torture Victims by Claudio G. Gide, Deceased by Salome

: Gealone Gidao
8091 PROOF of Claim Form For Torture Victims by Samuel M. Lampago, Deceased by Cirila
L. Abratiguin
8092 PROOF of Claim Form For Disappearance Victims by Maria Gealone Germedia
8093 | PROOF of Claim Form For Disappearance Victims by Bonifacio Dinglasan by Juana
: : Pe Rosas Dinglasan
8094 PROOF of Claim Form For Disappearance Victims by BDatuwan Ambag by Pagals Tagedtal
8095 PROOF of Claim Form For Disappearance Victims by Isidro §. Rebato by Segunda
P. Rebato
/ 8096 | PROOF of Claim Form For Disappearance Victims by Panso Ambag by Paglas Tagedtal
8097 | PROOF of Claim Form For Disappearance Victims by Minundas Keto by Kalaga S$. Keto
8098 | PROOF of Claim Form For Disappearance Victims by Elias 0. Biacolo by Crispin
0. Biacolo
8099 | PROOF of Glaim Form For Disappearance Victims by Franco M. Luneta
8100 | PROOF of Claim Form For Disappearance Victims by Tamano Hasim by Edris Hasim
8101 | PROOF of Claim Form For Disappearance Victims by Zacaria Hasim by Hasim Balawag
8102 PROOF of Claim Form For Disappearance Victims by Kahar Sansaluna by Sansaluna Ali
/8103 | PROOF of Claim Form For Disappearance Victims by Datu M. Miok by Mariam Mlok
8104 PROOF of Claim Form For Disappearance Victims by Makauyag Abel by Aning Makauyag
8105 | PROOF of Claim Form For Disappearance Victims by Makasulay Panimbong by Sinalinda
P. Musa @
8106 | PROOF of Claim Form For Disappearance Victims by Datu Nanding N. Mastura by
Bai Hadija Kalasuma Mastura
8107 | PROOF of Claim Form For Disappearance Victims by Abdulnasser Baban by Saban
Rucaya
8108 | PROOF of Claim Form For Disappearance Victims by Kasan Kadil by Norudin Kadil
8109 PROOF of Claim Form For Disappearance Victims by Abidan M. Talib by Unos M. Talib
8110 | PROOF of Claim Form For Disappearance Victims by Wahab M. Talib by Unos M. Talib
8111 | PROOF of Claim Form For Disappearance Victims by Saidali Uyag by Kayaton Uyag
8112 : PROOF of Claim Form For Disappearance Victims by Japanes Uyag by Kayaton Uyag
8113 | PROOF of Claim Form For Disappearance Victims by Dioscoro C. Buenaventura by
Virginia C. Buenaventura ,
8114 | PROOF of Claim Form For Disappearance Victims by Juan A. Buenaventura by Virginia
C. Buenaventura
8115 | PROOF of Claim Form For Disappearance Victims by Sailila Dimarof by Darnan Taup
8116 | PROOF of Claim Form For Disappearance Victims by Emilio G. Hular by Lito G. Hular
8117 | PROOF of Claim Form For Disappearance Victims by Ernesto C. Pancipane by Norma
B. Pancipane
8118 | PROOF of Claim Form For Disappearance Victims by Crisologo Balaoro

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
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IN RE: ESTATE GF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION ~
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1999
May 17 8119 PROOF of Claim Form For Disappearance Victims by Recto ©. Rebato by Loreta P.
Rebato
8120, PROOF of Claim Form For Disappearance Victims by Donato ©. Opada
8121 PROOF of Claim Form For Disappearance Victims by Buto Kambay by Kambal Mati Bom
Bong
8122 PROOF of Claim Form For Disappearance Victims by Tatek Kaumi by Mando Kaumi
8123 PROOF of Claim Form For Disappearance Victims by Kandatu Ali by Kumala Ali
6 8124 PROOF of Claim Form Far Disappearance Victims by Abduisalam Abubakar by Salim
Abubakar
8125 PROOF of Claim Form For Disappearance Victims by Aliman Gundama and Abdullatip
Gundama by Kabiba Gundama
8126 PROOF of Claim Form For Disappearance Victims by Dandia Bayaw by Rowaida Madi
8127) PROOF of Claim Form For Disappearance Victims by Banali Guiaplos and Gudi Cuiapos
: by Kamid Guiapas
8128 PROOF of Claim Form For Disappearance Victims by Milujan Dagenday by Nasser
Dagenday
8129 PROOF of Claim Form For Disappearance Victims by Tumindig Alilaya by Bombolin
Alilaya
8130 | PROOF of Claim Form For Disappearance Victims by Gulomea Maliga by Dumagay
Maliga
6131) PROOF of Claim Form For Disappearance Victims by Entie Kambal by Nao Kambel
8132 PROOF of Claim Form For Disappearance Victims by Celso R. Pecenio by Epegenia
M. Pecenio
8133 PROOF of Claim Form For Disappearance Victims by Santiago A. Rebato
8134 | PROOF of Claim Form For Disappearance Victims by Segundo R. Pecenio by Pio R.
Pecenic
8135 PROOF of Claim Form For Disappearance Victims by Lunding FP. Rebato by Porferio
P. Rebata
6136 > PROOF of Claim Form For Disappearance Victims by Domingo P. Rebato by Violeta
BD. Rebato
8137 PROOF of Claim Form For Disappearance Victims by Rodulfo M. Rebato by Narcisa
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8138 | PROOF of Claim Form For Disappearance Victims by Roque Enaje by Nineta Enaje
8139 PROOF of Claim Form For Disappearance Victims by Felipe Lomocso
8140' PROOF of Claim Form For Disappearance Victims by Lorenzo J. Goc-Ong by Zenaida
J. Goc-Ong
6141) PROOF of Claim Form For Disappearance Victims by Dagenday Alipado by Nasser
Dagenday
8142 | PROOF of Claim Form For Disappearance Victims by Edon Maliga by Maliga Dumagay
8143) PROOF of Claim Form For Disappearance Victims by Pak Kanuan by Abdulkarim Kanuan
8144 PROOF of Claim Form For Disappearance Victims by Saidali Tobac by Tubac Ampao
8145} PROOF of Claim Form For Disappearance Victims by Wahab A. Abdul by Haron A. Abdul
8146 PROOF of Claim Form For Disappearance Victims by Padian Magial
8147 | PROOF of Claim Form For Disappearance Victims by Benbenido Flores by Adelina
Lumigao Flores
8148!) PROOF of Claim Form For Disappearance Victims by Zainal Dendo by Dindo Demenang
8149 | PROOF of Claim Form For Disappearance Victims by Manuel Amor by Flavia A.
Somagaysay
8150 | PROOF of Claim Form For Summary Execution Victims by Vicente Empensando Villaborzp
by Delia E. Villabroza
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May 17 S151 PROOF of Claim Form For Summary Execution Victims by Mario Lacbawan by Felipe

: Lacbawan
28152  PROOP of Claim Form For Summary Execution Victims by Agustin Pancipane
(8153 PROOF of Claim Form For Summary Execution Victims by Aurilio Amesola by Felicitas

: Amesola
8154 PROOF of Claim Form For Summary Execution Victims by Antonio Gracilla by Lordes

: G. Gubat
'8155 PROOF of Claim Form For Summary Execution Victims by Roberto E. Tismo by Joebert
: : BE. Tismo
8156 | PROOF of Claim Form For Summary Execution Victims by Dimaling Mamokras by Gurmia
Mamokras
/8157 PROOF of Claim Form For Summary Execution Victims by Kamaon Aplol by Modsol
: Aplal
.8158 PROOF of Claim Form For Summary Execution Victims by Manuelito R. Sambayon by
: Isabel Sambayon
8159 | PROOF of Claim Form For Summary Execution Victims by Kumbingan Mama by Modsol
: Aplai
| $160 PROOF of Claim Form For Summary Execution Victims by Kunengkong Talib by Modsol
i Aplal
8161 . PROOF of Claim Form For Summary Execution Victims by Mama Aplal by Medsol Aplal
8162 | PROOF of Claim Form For Summary Execution Victims by Guiamalon Mampurok by
Mampurok Gadsla
3163 PROOF of Claim Form For Summary Execution Victims by Datu Agao Engkadot by

Engkadot Kasamila
8164 | PROOF of Claim Form For Summary Execution Victims by Guinaid Angotob by Ahmad

Angetob
8165 = PROOF of Claim Form For Summary Execution Victims by Guiamalon Kundal by Motis
: Kundal
8166 PROOF of Claim Form For Summary Execution Victims by Danial Dalala by Mongon

Kamama
8167 PROOF of Claim Form For Summary Execution Victims by SUsan Danial by Mongon

Kamama
8168 | PROOF of Claim Form For Summary Execution Victims by Abdulbasit Marshomsar by eS

Fatima M. Blaim

8169 | PROOF of Claim Form For Summary Execution Victims by Hadji Haron Lintang by Sema

C. Haron

8170 | PROOF of Claim Form For Summary Execution Victims by Kampua Lamambas by Lumambas
Neuday

8171 | PROOF of Claim Form For Summary Execution Victims by Alfonso A. Gumial by Perlita
H. Gumial

8172 | PROOF of Claim Form For Summary Execution Victims by Jose Golde by Dionesio Golde
8173 | PROOF of Claim Form For Summary Execution Victims by Kedsi Hadji Abdulrahim by
Yusseph M. Ali

8174 | PROOF of Claim Form For Summary Execution Victims by
Habla

Farisimo Hizola by Angelito

8175 | PROOF of Claim Form For Summary Execution Victims by Roberto E. Reyes by Engracia
B. Reyes

8176 : PROOF of Claim Form For Summary Execution Victims by Redrigo I. Priomor by Basilid
Primor

8177 ‘PROOF of Claim Form For Summary Execution Victims by Tibak D. Omar by Mailon Omar
8178 | PROOF of Claim Form For Summary Execution Victims by Quezon Zangkala by Shalika
K. Zangkala

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
pocket No, MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION 27h
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DATE NR, | PROCEEDINGS
L999 — ——
May 17 8179: PROOF of Claim Form For Summary Execution Victims by Ebrahim Balibis by Salama
H. Ebrahim
8180) PROOF of Claim Form For Summary Execution Victims by Jamondo Bagkeled by Daud
Bagkeled
8181| PROOF of Claim Form For Summary Execution Victims by Binabay Omar by Sangegator
Omar
8182) PROGF of Claim Form For Summary Execution Victims by Rodrigo Dasco Gamase by
@ Irenea Gamase
8183; PROOP of Claim Form For Summary Execution Victims by Mamasalanang Zainaz by
Jimar Mamasalanang
8184 PROOF of Claim Form For Summary Execution Victims by Pangelamis Menang by Kamsa
Menang
8185, PROOF of Claim Form For Summary Execution Victims by Teng Bituanan by Toka
Bituanan
8186. PROOF of Claim Form For Summary Execution Victims by Karoten Guiabalael by
Ebrahim Guiabalael
8187 PROOF of Claim Form For Summary Execution Victims by Makakuwa Dulunan and Sanipa
Bulunan by Talib Duiunan
8188) PROOF of Claim Form For Summary Execution Victims by Alimodin Pantao by Sandato
Matiman
8189) PROOF of Claim Form For Summary Execution Victims by Calusisit Edzagula by
Lampadan M. Edzagula
8190) PROOF of Claim Form For Summary Execution Victims by Balkongan Bensik by Kenis
Bensik
8191) PROOF of Claim Form For Summary Execution Victims by Lakman Akil by Sanggutin
Akil
8192: PROOF of Claim Form For Summary Execution Victims by Maliga Bumbalen by Salipa
Madkaymama
8193; PROOF of Claim Form For Summary Execution Victims by Macmod Hamsa by Hamsa
Raida~Ali
8194| PROOF of Claim Form For Summary Execution Victims by Ebus Tabuan by Babay Salabo
: Tabuan
eo 8195} PROOF of Claim ¥Yorm For Summary Execution Victims by Gibay Masdal by Masdal 1.
Kanid
8196 | PROOF of Claim Form For Summary Execution Victims by Tuan Usop by Baliwan Usop
8197! PROOF of Claim Form For Summary Execution Victims by Alim Mamasalanang by Abdul
Mamasalanang
8198) PROOF of Claim Form For Summary Execution Victims by Malbel Uyag by Saiden Uyag
8199; PROOF of Claim Form For Summary Execution Victims by Mutalib Mamasalanang by
Abdul Mamasalanang
8200 | PROOF of Claim Form For Summary Execution Victims by Kamid Pablo by Sagial
Madkaymnama
8201} PROOF of Claim Form For Summary Execution Victims by Camarudin Abdulbrahman by
Abdulbrahman Mamasalanang
8202| PROOF of Claim Form For Summary Execution Victims by Kebay Mangompig by Edris
Bongka
8203) PROOF of Claim Form For Summary Execution Victims by Duton Sangkupan by Abdulah
Sangupan
8204) PROOF of Claim Form For Summary Execution Victims by Acob Solaiman by Kakanakan
Solaiman
8205| PROOF of Claim Form For Summary Execution Victims by Taing Ting Delva by Norma
Zaimal
See Page 275

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CIVIL DOCKET CONTINUATION SHEET
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1999 :
May 17 . 8206. PROOF of Claim Form For Summary Execution Victims by Arbaiya Angki by Guiamokan

Angki

/ 8207 | PROOF of Claim Form For Summary Execution Victims by Alip F. Makalilay by Pamalo
Makalilay

$208 PROOF of Claim Form For Summary Execution Victims by Mustapha Kanuan by Abdulkarin

: Kanuan
- 8209 PROOF of Claim Form For Summary Execution Victims by Sampolng Anayatin by ANayatin
Salamie @
8210 | PROOF of Claim Form For Summary Execution Victims by Nohain Badigan by Dadigan
: Napilan

8211 PROOF of Claim Form For Summary Execution Victims by Akmad Satel by Mujahid Akmad
:8212 PROOF of Claim Form For Summary Execution Victims by Teofilo B. Pineda by Leonila
: : E. Pineda

8213! PROOF of Claim Form For Summary Execution Victims by Rolando L. Atienza by Leonesé

Atienza

8214 | PROOF of Claim Form For Summary Execution Victims by Omar Latip by Ebrahim Lacip
- 8215 | PROOF of Claim Form For Summary Execution Victims by Abo Seanga by Apao Seanga
'8216 | PROOF of Claim Form For Summary Execution Victims by Eduardo Salvador by Rosalina

j R. Salvador
82i7 PROOF of Claim Form For Summary Execution Victims by Dionesio P. Leguin, Sr. by
Anita A. Lequin
8218 PROOF of Claim Form For Summary Execution Victims by Ricardo Econas by Romeliano
Econas
8219 | PROOF of Claim Form For Summary Execution Victims by Romeo Sarentas by Felomina
Sawit
8220 PROOF of Claim Form For Summary Execution Victims by Iluminada Estolerc Ordonez by
Conceso Grdonez
8221 PROOF of Claim Form For Summary Execution Victims by Luzvimindo Buscayno by
Rosalina R. Javier
'8222 PROOF of Claim Form For Summary Execution Victims by Alfredo Anog by Regina Anog
8223 PROOF of Claim Form For Summary Execution Victims by Marciano A. Espina by Ireneo
M. Espina
8224 | PROOF of Claim Form For Summary Execution Victims by Zaldivar Gaan by Federico
Gaan
(8225 | PROOF of Claim Form For Summary Execution Victims by Hernani BD. Falco by
Mercedita G. Falco
8226 | PROOF of Claim Form For Summary Execution Victims by Floro Burawis by Eusebia
Tangpuz
(8227 PROOF of Claim Form For Summary Execution Victims by Romulo Bayona by Eusebia
Tangpuz
8228 |PROOF of Claim Form For Summary Execution Victims by Juanito V. Tonido by Eduardo
V. Tonido
8229 | PROOF of Claim Form For Summary Execution Victims by Ismail Musa by Amina
Abdulgani
8230 | PROOF of Claim Form For Summary Execution Victims by Talin Kadil by Zabar Kadil
8231 PROOF of Claim Form For Summary Execution Victims by Salipada Camino by Ladturan
Camino
8232 | PROOF of Claim Form For Summary Execution Victims by Omal Abo by Amina Abo
8233 PROOF of Claim Form For Summary Execution Victims by Suqib T. Usman by Ausa Tugis
8234 | PROOF of Claim Form For Summary Execution Victims by Pusdan G. Sabidra by Macity
Dikay

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CIVEL, DOCKET CONTINUATION SHEET

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May 17 $235 PROOF of Claim Form For Summary Execution Victims by Margingiza C. Lakim by
Abay Tligis

8236 PROOF of Claim Form For Summary Execution Victims by Gadi Baliwan by Sabal Gadi
| 8237 PROOF of Claim Form For Summary Execution Victims by Ladtudan Guialudin by

Guialudin Dasembay Kadatuan
$8238 PROOF of Claim Form For Summary Execution Victims by Simeon Ordaneza by Rocelyn

Ordaneza

@ 8239 | PROOF of Claim Form For Summary Execution Victims by Melanio Arcega by Cirllo
Arcega

8240. PROOF of Claim Form For Summary Execution Victims by Eufrocino R. Imamarga by

Eufrocina [. Sayno
8241 PROOF of Claim Form For Summary Execution Victims by Balumol G. GUiaplos by

Amok Gulaplos
8242 PROOF of Claim Form For Summary Execution Victims by Dimao Mukamad by Mokamad

Subaina

8243) PROOF of Claim Form For Summary Execution Victims by Bulingkeg Said by Musa
Bulingkeg

8244 PROOF of Claim Form For Summary Execution Victims by Guiamaudin Sama by
Guiamaudin Samad

8245, PROOF of Claim Form For Summary Execution Victims by Adam Ungkakay by Husain
@ G. Ungkakay
8246 | PROOF of Claim Form For Summary Execution Victims by Ramil Mamalinta

8247 | PROOF of Claim Form For Summary Execution Victims by Bagliel Guiaplos by Guiaplos|

Anok

8248 | PROOF of Claim Form For Summary Execution Victims by Sulaik Salik by Tong Salik

8249 PROOF ef Claim Form For Summary Execution Victims by Avial Guerel by Alim Awal

8250 | PROOF of Claim Form For Summary Execution Victims by Pandian Alilaya by Bombolin

Alilaya

8251] PROOF of Claim Form For Summary Execution Victims by Ikoden Balimbingun by

Tugan Balimbingan

8252 | PROOF of Claim Form For Summary Execution Victims by Abdul Umal by Kasim Umal
$253 PROOF of Claim Form For Summary Execution Victims by Tari Umal by Kasim Umal

@ 8254 | PROOF of Claim Form For Summary Execution Victims by Hadji Abdullah Panayaman

by Abdullah Panayaman
8255; PROOF of Claim Form For Summary Execution Victims by Mastor Sabillah by Amina

Sabellah

8256 | PROOF of Claim Form For Summary Execution Victims by Esmail Talingan by Amina
Sabellah

8257 | PROOF of Claim Form For Summary Execution Victims by Kindag Buliloe by Lagundos
Bulilo

8258 | PROOF of Claim Form For Summary Execution Victims by Nasrudin Meto by Kenengko
M. Sebangan

8259 | PROOF of Claim Form For Summary Execution Victims by Amireo Abusama by Mokamad
Amino

8260 | PROOF of Claim Form For Summary Execution Victims by Sabal H. Kasan by Kasan

Mosib H.

8261 | PROOF of Claim Form For Summary Execution Victims by Hadji Akmad H. Wahab by
Guiaplos Amina Dento

8262 | PROOF of Claim Form For Summary Execution Victims by Buaya Gedo by Gedo Hagigapor
8263 | PROOF of Claim Form For Summary Execution Victims by Zakaria H. Abdulla by Edo

H. Abdulla

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8265 | PROOF of Claim Form For Summary Execution Victims by Asid Usi by Salumbay Usi
Calimbal

' 8266 PROOF of Claim Form For Summary Execution Victims by Manguda Salik by Teng Salik
' 6267 PROOF of Claim Form For Summary Execution Victims by Uti Parasan by Puas Parasan
| 8268 | PROOF of Claim Form For Summary Execution Victims by Mamalis Buisan by Bmod Saliling
8269 PROOF of Claim Form For Summary Execution Victims by Akmad Mampurak by Gurmia 6

: Mamokras
: 8270 PROOF of Claim Form For Summary Execution Victims by Esmail Kamaron by Abdullah

Panayaman

8271 PROOF of Claim Form For Summary Sxecution Victims by Florencio Golde by Dionesio
Goide

8272 | PROOF of Claim Form For Summary Execution Victims by Datukan Pandag by Kamad

: Aplal

8273 PROOF of Claim Form For Summary Execution Victims by Bodaria 3. Dilangalen by

Nando Dilangalen
8274 | PROOF of Claim Form For Summary Execution Victims by Tugal Odin by Ebrahim M. Odin

/8275 PROOF of Claim Form For Summary Execution Victims by Guialil Guiapos by Guiapos

i Anok

| 8276 | PROOF of Claim Form For Summary Execution Victims by Midpantac Patadon by Patadon

Kanapia

/$277 PROOF of Claim Form For Summary Execution Victims by Bueao Ebrahim by Mamotalaga

Panayaman

/8278 | PROOF of Claim Form For Summary Execution Victims by Hassaim Mataped by Mampurok
Gadsla

8279 | PROOF of Claim Form For Summary Execution Victims by Cosain Calim by Kalim
Samson

8280 | PROOF of Claim Form For Summary Execution Victims by Zainudin Laguindab by Tautin
Laguindab

8281 | PROOF of Claim Form For Summary Execution Victims by Konding Kedsi by Rudy Mutin
Yussoph Ali

8282 | PROOF of Claim Form For Summary Execution Victims by Kamidon Guiamadil by Tumbay
Salik

8283 | PROOF of Claim Form For Summary Execution Victims by Tingan Wahab

8284 | PROOF of Claim Form For Summary Execution Victims by Palti Sampato by Macapagal
: Sampate

8285 | PROOF of Claim Form For Summary Execution Victims by Jennelyn Cabrillos by

Oscar Cabrillos

$286 | PROOF of Claim Form For Summary Execution Victims by Kusain Radzak by Salik
Radzak

8287 | PROOF of Claim Form For Summary Execution Victims by Hadji Kamid D. Diaulana by
Haya Maulana
8288 | PROOF of Claim Form For Summary Execution Victims by Lakman A. Sali by Sali Usop
8289 | PROOF of Claim Form For Summary Execution Victims by Datuan Anok by Anok Cuiamal
8290 | PROOF of Claim Form For Summary Execution Victims by Salibo Gugo by Gugo Dandalgal
Ampao

8291 | PROOF of Claim Form For Summary Execution Victims by Ritto Mumib Kalon by PBarok
Utte

6292 : PROOF of Claim Form for Summary Execution Victims by Usop Salaman by Ali Saiaman
8293 | PROOF of Claim Form For Summary Execution Victims by Guiamalo Mosali by Sandato

Matiman

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May 17 18294 PROOF of Claim Form For Summary Execution Victims by Naminto Ampang by Sandato

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8295 PROOF of Claim Form For Summary Execution Victims by Montawal Abed and Mendang
Abed by Kiga Talib
8296 - PROOF of Claim Form For Tirture Victims by Justinane Guban
6297 | PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by
Jacinto D. Pena by Gorgonia D. Pena
@ 8298 | PROOF cf Claim Form For Torture, Summary Execution and Disappearance Victims by
Ninotchka Rosca
8299 | PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by
Miguel T. Diaz
8300 | PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by
Jaime M. Zamora
8301 PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by
Christina Catalla by Yolanda Palis
8302 (STATEMENT by Acmad Macatimbod
8303 |STATEMENT by Helen Jao Panes
8304 (STATEMENT by Calixto R. Rojo
8305 |STATEMENT by Adora M. Alcedo
8306 (STATEMENT by Julito Adag
8307 ISTATEMENT by Jose M. Arcillas
18 8308 (|PROOF of Claim Form For Torture Victims by Blah Kabenbelan
8309 (PROOF of Claim Form For Torture Victims by Amifil Kamad, Deceased by Daud Kamad
8310 |PROOF of Claim Form For Torture Victims by Abedin Bano, Deceased by Jun Husain
8311 |PROOF of Claim Form For Torture Victims by Kumaro Simon
8312 (PROOF of Claim Form For Terture Victims by Menardo A. Empeo
8313 {PROOF of Claim Form For Torture Victims by Rolande 0. Bajo
8314 |PROOF of Claim Form For Torture Victims by Lydio J. Mangao
8315 |PROOF of Claim Form For Torture Victims by Enriquita Colimbo Macario, Deceased
by Armando C. Macario
8316 JPROOF of Claim Form For Torture Victims by Rodrigo Pelagio
@ 8317 (PROOF of Claim Form For Torture Victims by Pedro Balibes
8318 |PROOF of Claim Form For Torture Victims by Carlos C. Salvador
8319 [PROOF of Claim Form For Torture Victims by Hipolite B. Gabito, Deceased by Norma
Gabito Eulin
8320 |PROOF of Claim Form For Torture Victims by Antonio Gano-An, Deceased by Gano-An
Dodianan
8321 (PROOF cf Claim Form For Torture Victims by Hermenio Marquillero, Deceased by
Sonia Marquillero
8322 [PROOF of Claim Form For Torture Victims by Jamilah B. Bunda
8323 (PROOF of Claim Form For Torture Victims by Batayan Salveno, Deceased by Ramon
Bantayan
8324 (PROOF of Claim Form For Torture Victims by Guinsod Pedong
8325 [PROOF of Claim Form For Torture Victims by Redolfo Galido Aguilar
8326 [PROOF of Claim Form For Torture Victims by Selma S$. Salvador
8327 (PROOF of Claim Form For Torture Victims by Roque G. Madronio
8328 (PROOF of Claim Form For Torture Victims by Ernesto B. Rivera
8329 [PROOF of Claim Form For Torture Victims by Alfredo Cadagdagon
8330 (PROOF of Claim Form For Torture Victims by Roberto Biosa, Deceased by Honorio

Biosa

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CIVIL, DOCKET CONTINUATION SHEET

PLAIN TIP DEFENDANT :
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9 GG :
May 18 | 8331 PROOF of Claim Form For Torture Victims by Salik Kandog
8332 PROOF of Claim Form For Torture Victims by Dioscoro Gabin, Deceased by Acelio
Gatane
(83323 PROOF of Claim Form For Torture Victims by Vicente Gabane
8334 i PROOF ef Claim Form For Torture Victims by Lorenzo $. Corazon, Jr.
8335 | PROOF of Claim Form For Torture Victims by Eugenio Quebec
8336 PROOF of Claim Form For Torture Victims by Sigfredo Paredes
/8337 PROOF of Claim Form For Torture Victims by Nelson Gumadias
/ 8338 | PROCF of Claim Form For Torture Victims by Apolonio Hapon
'8339 PROOF of Claim Form For Torture Victims by Kantak B. Minalang
8340 | PROOF of Claim Form For Torture Victims by Lamalan Kuda
8341 ‘PROOF of Claim Form For Torture Victims by Guapo Domenggo, Deceased by Damenggo
Daniange
$342 PROOF of Ciaim Form For Torture Victims by Bayan Radsak, Deceased by Bai Resina
: : M. Radzak
-8343 PROOF of Claim Form For Torture Victims by Mamal Oliong
'8344 PROOF of Claim Form For Torture Vietims by Tando 8B. Ansar, Deceased by Mariam B.
Asar
:8345 PROOF of Claim Form For Torture Victims by Ernesto Madronio
8346 ; PROOF of Claim Form For Torture Victims by Simon Mostrado
8347 ; PROOF of Claim Form For Torture Victims by Rogelio B. Madronio
8348 | PROOF of Claim Form For Torture Victims by Romite B. Madronieo
8349 PROOF cf Claim Form For Torture Victims by Leonardo B. Madronio
8350 | PROOF of Claim Form For Torture Victims by Falcon Con Sar Cio, Deceased by Charlita
c. Falcon
8351 | PROOF of Claim Form For Torture Victims by Alfredo Batay~A4n, Deceased by Precy P.
Batay-An
8352 | PROOF of Claim Form For Torture Victims by Danelo Garais
8353 PROOF of Claim Form For Torture Victims by Alfonso Ragasa
8354 | PROOF of Claim Form For Torture Victims by Celso B. Madronio
8355 | PROOF of Claim Form For Torture Victims by Dominge Mangampo
8356 PROOF of Claim Form For Torture Victims by Narciso Luceno
8357 | PROOF of Claim Form For Torture Victims by Ludevico Villarmia eS
8358 PROOF of Claim Form For Torture Victims by Catuday Pedro
8359 | PROOF of Claim Form For Torture Victims by Apolinario B. Mortalla
8360 PROOF cf Claim Form For Torture Victims by Flora T. Plaquia
8361 | PROOF of Claim Form For Torture Victims by Romeo Espanola
8362 | PROOF of Claim Form For Torture Victims by Deodito Panday, Deceased by Nida Panday
8363 | PROOF of Claim Form For Torture Victims by Cerilo $. Tadlip
8364 | PROOF of Claim Form For Torture Victims by Ernesto A. Cabacungan
8365 | PROOF of Claim Form For Torture Victims by AMador C. Efondo
8366 | PROOF of Claim Form For Torture Victims by Francisco Q. Gamit, Sr.
8367 | PROOF of Claim Form For Torture Victims by Alfredo R. Gamit
8368 |PROOF of Claim Form For Torture Victims by Zacaria Abdul
8369 [PROOF of Claim Form For Torture Victims by Takbo Lumena, Deceased by Pahm Ruel
8370 PROOF of Claim Form For Torture Victims by Pungan Usman
8371 | PROOF of Claim Form For Torture Victims by Upi Masamri
8372 |PROOF of Claim Porm For Torture Victims by Dadtungan Panalunsong, Deceased by
Abdillah Pananlunsong
8373 | PROOF of Claim Form For Torture Victims by Shirley A. Bangay Esterada
8374 (PROOF of Claim Form For Torture Victims by Ronnie A. Bangay

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CIVIL, DOCKET CONTINUATION SHEET

PLAINTIFF DEFENDANT :
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May 18 8375 PROOF of Claim Form For Torture Victims by Noel Echanes
8376; PROOF of Claim Form For Torture Victims by Vicenta Antipunan
8377 | PROOF of Claim Form For Torture Victims by Eamanuel M. Nadela
8373 PROOF of Claim Form For Torture Victims by Tony D. Galapon
8375) PROOF of Claim Form For Torture Victims by Carmen Geraldine E, Planas
8380; PROOF of Claim Form For Torture Victims by Norberto E. Recarro
8381 PROOF of Claim Form For Torture Victims by Leopoldo Granado
@ 8382 PROOF of Claim Form For Torture Victims by Dante Q. Esquivel
8383 PROOF of Claim Form For Torture Victims by Dionisio R. Devera
8384 PROOF of Claim Form For Torture Victims by Orlando A. Sanchez Sr.
8385 | PROOF of Claim Form For Torture Victims by Martin J. Flores
8386 | PROOF of Claim Form For Torture Victims by Landao M. Patekay
8387! PROOF of Claim Form For Torture Victims by Talib Kuda
8388 | PROOF of Claim Form For Torture Victims by Jorge R. Alcedo
8389) PROOF of Claim Form For Torture Victims by Abdulatip Mamasalanang
8390 | PROOF of Claim Form For Torture Victims by Marcelino E. Bangay
8391 PROOF of Claim Form For Torture Victims by Marcelino E. Bangay, Deceased by
Rosalina Abranilla Bangay
8392; PROOF of Claim Form For Torture Victims by Benigno P. Bucatcat
8393) PROOF of Claim Form For Torture Victims by Elpedio Garcia
©@ 8394) PROOF of Claim Form For Torture Victims by Virginia G. Granado
$395 | PROOF of Claim Form For Torture Victims by Enoch Gavarra
8396; PROOF of Claim Form For Torture Victims by Monib M. Miah, Deceased by Mohamadali
M. Mlah
8397 PROOF of Claim Form For Torture Victims by Mario D. Bunda
8398; PROOF of Claim Form For Torture Victims by Reuben Amante Rosello
ee 36 3399 | NOTICE OF APPEAL - on Behalf of Pitfs Celsa Hilao, Adera Faye De Vera, Arturo
Revilla, Renato Pineda, Jose Duran and Paula Romero and Objectors Fidel
Agcaoili, Juliete de Lima Sison and Reverend Cesar Taguba ~ as to Cv Nos.
86~390, 86-333 and 86-207

+= PILING FEE PAID ~ $105.60, receipt #187905
@ *eJom 7 NOTICE OF APPEAL sent to Sth CCA {cce: ALL Counsel}
May 18 . 8400; PROOF of Claim Form For Disappearance Victims by Salipada Midtimbang by Arfa

&. Midtimbang
8401) PROOF of Claim Form For Disappearance Victims by Balansian Aba by Lagudan

Balansian
8402; PROOF cf Claim Form For Disappearance Victims by Katuya Kabigit by Sangal Kabigit

8403 PROOF of Claim Form For Disappearance Victims by Alonto Lidasan by Lidasan

Matadtag

8404 | PROOF of Claim Form For Disappearance Victims by David De Vera by Belen P. De
Vera

8405 | PROOF of Claim Form For Disappearance Victims by Tado Makalonas by Angkad
Makalonas

8406 | PROOF of Claim Form For Disappearance Victims by Abduladzis Adas by Hadji

Ibrahim Adas

8407 | PROOF of Claim Form For Disappearance Victims by Parasan Salipada by Salidatang
Salipada

8408 | PROOF of Claim Form For Disappearance Victims by Binigno Cabigeyan by Aurora

Cabigayan
8409 | PROOF of Claim Form For Disappearance Victims by Marciano Pacayro

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PLAINTIFF DEFENDANT

IN RE: ESTATE

OF FERDINAND E. MARCOS! HUMAN RIGHTS LITIGATION

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DATE
May 18 8410 PROOF of Claim Form For Disappearance Victims by Tarcesio Labalan
8411 PROOF of Claim Form For Disappearance Victims by Paris Alilaya Angkanan
| 8412 PROOF of Claim Form For Disappearance Victims by Gunti Afdal by Afdal Biyol
/ 8413 PROOF of Claim Form For Disappearance Victims by Banjamin ABril
: 8414 PROOF of Claim Form For Disappearance Victims by Felipe Badion Mosca by Fernanda
: Mosca Rintantan
8415 | PROOF of Claim Form For Disappearance Victims by Hasan Kadil and Usep Pagayao by
Bailing Kadil-Adrie
/ 8416 PROOF of Claim Form For Disappearance Victims by Antonio Haivoma dn Suged Tokuran
i by Avelino Satiutigan
8417 ° PROOF of Claim Form For Disappearance Victims by Sidnagkad Kamad by Daud Kamad
8418 . PROOF of Claim Form For Disappearance Victims by Magdalena B, Cambal by Nena B.
Cambal
8419 | PROOF of Claim Form For Disappearance Victims by William Sorene by Adelaido
: Sorene
8420 PROOF of Claim Form For Disappearance Victims by Sanda Talio by Katigua Talio
8421 | PROOF of Claim Form For Disappearance Victims by Abusama Antao by Akmad Antao
8422 PROOF of Claim Form For Disappearance Victims by Omar Mangilay by Lukiya P.
Magilay
8423 PROOF of Claim Form For Disappearance Victims by Kamarudin Hadji Patak by Noredin
: Hadji Patak
8424 | PROOF of Claim Form For Disappearance Victims by Hadji Mustapha Casim and Kusain
Casim by Said Casim
8425 | PROOF of Claim Form For Disappearance Victims by Edite Gabiana Versula by Lourdes
Versula Dacles
8426 , PROOF of Claim Form For Disappearance Victims by Mangano M. Bayang by Jahara M.
Bayang
8427 | PROOF of Claim Form For Disappearance Victims by Datu Norodin N. Mastura by Bai
Hadji Kalasuma Mastura
8428 | PROOF of Claim Form For Disappearance Victims by Abras Doloman by Diamal Lakib
8429 | PROOF of Claim Form For Disappearance Victims by Mamadra Ali by Ali Lembak
/€430 | PROOF of Claim Form For Summary Execution Victims by Macol Kuba
8431 | PROOF of Claim Form For Summary Execution Victims by Unta Maton by Dindo Maron
8432 | PROOF of Claim Form For Summary Execution Victims by Dimaik Amino by Mokamad
Amino
8433 | PROOF of Claim Form For Summary Execution Victims by Sarah ibrahim
8434 | PROOF of Claim Form For Summary Execution Victims by Abdul Gani Ebrahim by Salama
H. Ebrahim
8435 | PROOF of Claim Form For Summary Execution Victims by Salik Katua
8436 | PROOF of Claim Form For Summary Execution Victims by Geny H. Kusain
8437 | PROOF of Claim Form For Summary Execution Victims by Tong Balibis by Armia Balibip
8438 | PROOF of Claim Form For Summary Execution Victims by Meto Brahim
8439 | PROOF of Claim Form For Summary Execution Victims by Soboh Salilama by Bobbie D.
Salilama
8440 | PROOF of Claim Form For Summary Execution Victims by Mahmod H. ALi
8441 | PROOF of Claim Form For Summary Execution Victims by Esmail Hadji Abas
8442 | PROOF of Claim Form For Summary Execution Victims by Inosencia Paborada by
Florencio §. Sanopao
8443 | PROOF of Claim Form For Summary Execution Victims by Aniano Sumampong by Mino
Sumampong
8444 | PROOF of Claim Form For Summary Execution Victims by Dominador Lavandero by

Fedelina Labandero

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CIVIL, DOCKET CONTINUATION SHEET
PLAINTIFF ; DEPENDANT

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DATE NR. | PROCEEDINGS

1999 ;
May 18 (8445 PROOF of Claim Form For Summary Execution Victims by Emma P. Magtibay by

Eustaqua P. Magtibay

8446 PROOF of Claim Form For Summary Execution Victims by Pedro D, Pepino by Felipa A.
Pepinoe

8447 [PROOF of Claim Form For Summary Execution Victims by Carlito Damas Luminding by
Aida 0. Luminding

8448 PROOF of Claim Form For Summary Execution Victims by Salic Pasawilan by Dido Piang
@ 8449 |PROOF of Claim Form For Summary Execution Vietims by Kisang Salilama by Robbie D.
Salilama

8450 (PROOF of Claim Form For Summary Execution Victims by Samanudin Paidomama by
Abdulsatar Paidomama

8451 PROOF of Claim Form For Summary Execution Victims by Melicio C. Sayson, Jr. by
George Sayson

8452 PROOF of Claim Form For Summary Execution Victims by Babal Bundas, Bai King King
Bundas, Kamatola Bundas, Rahib Bundas and Junaida Bundas by Mahalidin Bundas

8453 PROOF of Claim Form For Summary Execution Victims by Kompi Mamadra by Balungote
Mamadra

8454 (PROOF of Claim Form For Summary Execution Victims by Kamer Makasipi and Kanapi
Makasipi by Omar Makasipi

© 8455 (PROOF of Claim Form For Summary Execution Victims by Mutaib Palagoyan and Esmail

Palagoyan by Kiddy Palagoyan

8456 |PROOF of Claim Form For Summary Execution Victims by Asom Kong by Saleng Kong

8457 PROOF of Claim Form For Summary Execution Victims by Kasim Hadji Mohammad by
Mohammad Aisa Palau~Hadji

8458 (PROOF of Claim Form For Summary Execution Victims by Buat H. ABdulrahman Lamp by
Abdul Rahman Ralga Campak

8459 |PROOF of Claim Form For Summary Execution Victims by Gerardo R. Montances by
Rosalina M. Mabini

8460 PROOF of Claim Form For Summary Execution Victims by Kamid Melo by Abe Melo

8461 (PROOF of Claim Form For Summary Execution Victims by Dominador M. Babon by Alfonso

N. Babon
B462 PROOF of Claim Form For Summary Execution Victims by Kalukay H. Ali by Guianaid
@ Kalukay
8463 PROOF of Claim Form For Summary Execution Victims by Kadal Kabuto Kentay by Kentay
Kabuto

8464 PROOF of Claim Form For Summary Execution Victims by Naitula Buga Dlanada by
Naitula Buga

B465 PROOF of Claim Form For Summary Execution Victims by Asim Talib by Katiguia Talib
B466 PROOF of Claim Form For Summary Execution Victims by Abdul Kagi by Mioltimbang
Ragi

B467 PROOF of Claim Form For Summary Execution Victims by Salaban Parasan by Puag
Palasan

8468 [PROOF of Claim Form For Summary Execution Vietime by Kriong Indal by Indal Dadtem
8469 (PROOF of Claim Form For Summary Execution Victims by Kaliong Taruyan by Carpenter
Taruyan

8470 (PROOF of Claim Form For Summary Execution Victims by Musa Amaykanday Lakiman by
Tula Lakiman

8471 |PROOF of Glaim Form For Summary Execution Victims by Alba Guimba by Palaguyan
Guimba

8472 [PROOF of Claim Form For Summary Execution Victims by Ekid Bansilan by Tunggol
Sambutol

8473 (PROOF of Claim Form For Summary Execution Victims by

Sambucol See Page 283

Omal Bansilan by Tunggol

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May 18 © 8474 : PROOF of Claim Form For Summary Execution Victims by Jose GC. Beruega by Elsa M.

i Beruega
° 8475 PROOF of Claim Form For Summary Execution Victims by Urdanita Apitan Adizer by
Artemia Apitan Paelnar
8476 | PROOF of Claim Form For Summary Execution Victims by Edito Apitan by Artemio
Apitan Paelnar
» 8477 ' PROOF of Claim Form For Summary Execution Victims by Roseman Apitan Adizer by
Artemia Apitan Faelnar
:8478 | PROOF of Claim Form For Summary Execution Victims by Jeremias L. Loyao by Samuel
: L. Loyao
8479 © PROOF of Claim Form For Summary Execution Victims by Eline Apitan by Artemia
. Apitan Faeinar
: 8480 | PROOF of Claim Form For Summary Execution Victims by Ronite Apitan by Artemia
Apitan Faelnar
/8481 PROOF of Claim Form For Summary Execution Victims by Luis Apitan, Jr. by Artemia
: Apitan Faelnar
8482 | PROOF of Claim Form For Summary Execution Victims by Deariyn Faelnar by Artemia
i Apitan Faelnar
8483 . PROOF of Claim Form For Summary Execution Victims by Ricky Apitan by Artemia
Apitan Faelnar
8484 | PROOF of Claim Form For Summary Execution Victims by Luis Apitan, Sr. by Artemia
Apitan Faelnar
8485 | PROOF of Claim Form For Summary Execution Victims by Pedro Pelagio by Rustica
Pelagio
8486 | PROOF of Claim Form For Summary Execution Victims by Paulino Picsoy by Precy P.
Batay~An
8487 (PROOF of Claim Form For Summary Execution Victims by Halima Malog, Omal Malog and
Nasarodin Malog by Makatul Malog
8488 | PROOF of Claim Form For Summary Execution Victims by Winnifrida Loquinario
/ 8489 | PROOF of Claim Form For Summary Execution Victims by Kantua Bansilan by Tunggol

Sambutol

8490 | PROOF of Claim Form For Summary Execution Victims by Guiamilon Duma by Tukan
Duma

8491 | PROOF of Claim Form For Summary Execution Victims by Buka Pangga by Dabai
Bangkulit

8492 | PROOF of Claim Form For Summary Execution Victims by Nidtimbang Guiabar by Alonto
Guiabar

8493 | PROOF of Claim Form For Summary Execution Victims by Tato Guimba by Palaguyan
Guimba

8494 | PROOF of Claim Form For Summary Execution Victims by Irma Ulangkaya by Roque
Ulangkaya

8495 | PROOF of Claim Form For Summary Execution Victims by Patra Zamon
8496 | PROOF of Glaim Form For Summary Execution Victims by Kengsayan Buka by Dabai

Bangkulit

8497 | PROOF of Claim Form For Summary Execution Victims by Dangli Bantulinay by Lando
Bantulinay

8498 | PROOF of Claim Form For Summary Execution Victims by Gali Torino by Dendi M.

Torino

8499 PROOF of Claim Form For Summary Execution Victims by Kalungay Midtimbang by Aisa
Gunsa Midtimbang

8500 | PROOF of Claim Form For Summary Execution Victims by Agui Puas by Andy P. Agui

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CIVIL DOCKET CONTINUATION SHEET
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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION
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1999
May 18 8501 (PROOF of Claim Form For Summary Execution Victims by gakulanga Panalunsong by

Abubakal Panalunsong

$502 |PROOF of Claim Form For Summary Execution Victims by Ali Kasan by Datunot Kasan
8503 PROOF of Claim Form For Summary Execution Victims by Dalinondo Asan Paosi Mokammad
Manalindo by Asan Manalindo Mokammad

8504 (PROOF of Claim Form For Summary Execution Victims by Kamsa Kayadtog and Dingding

Kayudtog by Mama Kayadtog

@ 8505 IPROOF of Claim Form For Summary Execution Victims by Oling 5. Sumail by Kulan
Sumail
8506 (PROOF of Claim Form For Summary Execution Victims by Willy R. Agustin by Adelaida
G. Agustin

bs

8507 PROOF of Claim Form For Summary Execution Victims by Nestor E. Macalino by Evelind
Cc. Macalino

8508 PROOF of Claim Form For Summary Execution Victims by KRandog Guianikay by Musa
Guianikay

8509 PROOF of Claim Form For Summary Execution Victims by Guiamad Kasan by Datunot
Kasan

8510 |PROOF of Claim Form For Summary Execution Victims by Kanakar Bada by Bada Jaid
8511 PROOF of Claim Form For Summary Execution Victims by Bangen Tamboko by Ito

Pinaling
© 8512 .PROOF of Claim Form For Summary Execution Victims by Musaid Guimba by Palaguyan

Guimba
8513 [PROOF of Claim Form For Summary Execution Victims by Guiamalon Milog by Ali Milog

8514 (PROOF of Claim Form For Summary Execution Victims by Saladia Nasser by Zainon
Raheem

8515 [PROOF of Claim Form For Summary Execution Victims by Boday T. Guiamat by H. Salakab
T. Guiamat

8516 (PROOF of Claim Form For Summary Execution Victims by Crispina Clenista by Juanito
Clenista

8517 (PROOF of Claim Form For Summary Execution Victims by Rose Marie Arnaiz by Juanito
Clenista

© 8518 |PROOF of Claim Form For Summary Execution Victims by Diosdado Clenista by Juanito
Clenista

8319 (PROOF of Claim Form For Summary Execution Victims by Sapia Mama Baliwan by Sabai
Gadi

8520 (PROOF of Claim Form For Summary Execution Victims by Sabidra Makalonas by Angkad
Makalonas

8521 (PROOF of Claim Form For Summary Execution Victims by Lakim Dangpan by Pao Dangpan
8522 (PROOF of Claim Form For Summary Execution Victims by Angkop Bodian by Kalima

Bodian

8523 [PROOF of Claim Form For Summary Execution Victims by Eduardo Pereda by Maria
Pereda

8524 (PROOF of Claim Form For Summary Execution Victims by Tapa Lumundao by Mastura
Lumundao

8525 (PROOF of Claim Form For Summary Execution Victims by Nuccan Mamansal by Muccan
Willy

8526 jPROOF of Claim Form For Summary Execution Victims by Pepito M. Redrigues by Erlinda
R. Devera

8527 (PROOF of Claim Form For Summary Execution Victims by Roren So Macahipay by Supia
Macahi pay

8528 (PROOF of Claim Form For Summary Execution Victims by Matandang Kaol by Hassim
Kaol

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tN RE: ESTATE OF FERDINAND E. MARCOS. HUMAN RIGHTS LITICATION

DATE NR. PROCEEDINGS

1999
May 18 +: 8529 : PROOF of Claim Form For Summary Execution Victims by Ysmael Gonzales Umali by

Felicidad G. Umali

'8530 PROOF of Claim Form For Summary Execution Victims by Eduardo Gaitan by Bienvinido
Gaitan .

8531 PROOF of Claim Form For Summary Execution Victims by Babar Ampatuan

»8532 | PROOF of Claim Form For Summary Execution Victims by Juan Apitan, Jr. by Artemia

Apitan Faelnar

(8533 PROOF of Claim Form For Summary Execution Victims by Pampila Apitan by Artemia
Apitan Faelnar

8534 _ PROOF of Claim Form For Summary Execution Victims by Odim Pilangkat by Kulot

: Salaban
°8535 PROOF of Claim Form For Summary Execution Victims by Menak Manalabok by Adtug
: Rudy
8536 PROOF of Claim Form For Summary Execution Victims by Alid Manialinta by Mamalinta
Esmael

$537 | PROOF of Claim Form For Summary Execution Victims by Akmad Modin by Hussain Esmael
°8538 PROOF of Claim Form For Summary Execution Victims by Abdula Masagula and Kusain

: Masagula by Abdila Masagula

8539 . PROOF of Claim Form For Summary Execution Victims by Nokasendeg Makalbog by
Badrodin Makalbog

8540 PROOF of Claim Form For Summary Execution Victims hy Kruyag Salaban Dimalaleil

by Sandato Dimalaguil

8541 | PROOF of Claim Form For Summary Execution Victims by Musa erdat by Hussain Esmael
8542 | PROOF of Claim Form For Summary Execution Victims by Said Melo by Esmail Melo
8543 | PROOF of Claim Form For Summary Execution Victims by Mayanto Andil by Maguid
Mayanto

8544 | PROOF of Claim Form For Summary Execution Victims by Kamsali Musa by Moben Kamsal{
8545 | PROOF of Claim Form For Summary Execution Victims by Hji Abdulkarim Hassan by
Samsodin H. Abdulkarim

8546 | PROOF of Claim Form For Summary Execution Victims by Tao Parasan by Puas Papasan
8547 | PROOF of Claim Form For Summary Execution Victims by Tuwan Salaban Dimalagil by
Sandato Dimalaguil

8548 | PROOF of Claim Form For Summary Execution Victims by Guiamalon Pangalan by Mangon
Kamama

8549 | PROOF of Claim Form For Summary Execution Victims by Amino Kompania by Taha
Kompania

8550 | PROOF of Claim Form For Summary Execution Victims by Unting Ebrahim by Mamotalaga
Panayaman

8551 | PROOF of Claim Form For Summary Execution Victims by Zacaria Mamalo by Hussain
Esmael

8552 | PROOF of Claim Form For Summary Execution Victims by Sapto Mangalan by Mangon
Kamama

8553 | PROOF of Claim Form For Summary Execution Victims by Luminog Ali by Sangkupan Ali
(8554 | PROOF of Claim Form For Summary Execution Victims by Guiamadil Guimba by Palaguyan
| Guimba

8555 | PROOF of Claim Form For Summary Execution Victims by Gasi Laguiamuda by Zenaida
Gast

8556 | PROOF of Claim Form For Summary Execution Victims by Wahab Hadji Rahim by Miya H.
Mohamad

8557 | PROOF of Claim Form For Summary Execution Victims by Dali Camsa and Abdulkarim
Camsa

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: Tobongbanua
8559 |PROOF of Claim Form For Summary Execution Victims by Tonisa Edon and Baysa Edon by
Baicong Edon
8560 (PROOF of Claim Form For Summary Execution Victims by Malempenek Manatok
8561 PROOF of Claim Form For Summary Execution Victims by Tatuan CGuimba by Palaguyan
Guimba
© 8562 PROOF of Claim Form For Summary Execution Victims by Buto Aleg Guianon by Yasser
8. Guianon
8563 :PROOF of Claim Form For Summary Execution Victims by Tanao Maliga by Abdul Maut
Maliga
8564 PROOF of Claim Form For Summary Execution Victims By Edsrail Minola by Abdul
Salam Edsrael
8565 PROOF of Claim Form For Summary Execution Victims by Nambai B. Akimad and Basit
Balabadan by Tayan B. Akmad
8566 PROOF of Claim Form For Summary Execution Victims by Maliga Abedin by Ebrahim
Abedin
8567 [PROOF of Claim Form For Summary Execution Victims by Macmod H. ALi
8568 [PROOF of Claim Form Fer Summary Execution Victims by Kalasuy Enogog by Kuas
Kalasuy
© 8569 [PROOF of Claim Form For Summary Execution Victims by Akmad Tapa by Ubaida Tapa
8570 |PROOF of Claim Form For Summary Execution Victims by Dali Agao by Agac H.
Mongangen
8571 /PROOF of Claim Form For Summary Execution Victims by Tomado Ungag by Mailan
Ungag
8572 PROOF of Claim Form For Summary Execution Victims by Lapia Minuntaylal by Pendatuy
Guiamal
8573 |PROOF of Claim Form For Summary Execution Victims by Kalasoma Baraamor by Daungan
Ayob Baraomor
8574 (PROOF of Claim Form For Summary Execution Victims by Mario P. Mabini by Pablo
P. Mabini
8575 IPROOF of Claim Form For Summary Execution Victims by Pilot G. Banto by Aida Bides
@ 8576 (PROOF of Claim Form For Summary Execution Victims by Saptula Dalingding by Zacarid
Mohamad
8577 |PROOF of Claim Form For Summary Execution Victims by Moksin Mohamad by Zacaria
Mohamad
8578 [PROOF of Claim Form For Summary Execution Victims by Esmail N. Bides by Mando
N. Bides
8579 (PROOF of Claim Form For Summary Execution Victims by Evangeline B. Alcoseba
8580 |/PROOF of Claim Form For Summary Execution Victims by Vito de los Reyes Abasquez
by Emelyn Abasquez-Losuias
8581 |PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by
Francisco T. Diaz /
8582 |PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by
Erwin T. Diaz
8583 [STATEMENT by Enriquita Colimbo Macario, et al.
8584 {STATEMENT by Carmencito B. Yamba
8585 |STATEMENT by Artemia Apitan Faelnar
See Page 287

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CIVIL, DOCKET CONTINUATION SHEET
PLAINTIFE DEPENDANT

IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

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i999; :
May 19 8586 PROOF of Claim Form For Torture Victims by Esmail Sabar
8587 PROOF of Claim Form For Torture Victims by Lillian Quimpo Wlash
8588 PROOF of Claim Form For Torture Victims by Mila B. Genon
/ 8589 : PROOF of Claim Form For Torture Victims by Alejandra T. Interone
: 8590 PROOF of Claim Form For Torture Victims by Norberto Lascuna, Deceased by Micheal

PROCEEDINGS

i : Lascuna
$591 PROOF of Claim Form Far Torture Victims by Peregreno $. Cantorne
8592 PROOF of Claim Form For Torture Victims by Isidre Santorne q

: 8593 ° PROOF of Claim Form For Torture Victims by Anselma Cantorne
: 8594 PROOF of Claim Form Fer Torture Victims by Roberto Cantorne
8595 | PROOF of Claim Form For Torture Victims by Paciencia Cantorne
' 8596 PROOF of Claim Form For Torture Victims by Anecita Cantorne
8597 PROOF of Claim Form For Torture Victims by Santas Gantorne
8598 PROOF of Claim Form For Disappearance Victims by Bavid Devera by Belen P. Devera
» 8599 ° PROOF of Claim Form For Disappearance Victims by Guillermo Anillo by Melquiades
. : Anillo
' 8600 PROOF of Claim Form For Disappearance Victims by Romtio B. Madronis
| 8601 0 PROOF of Claim Form For Summary Execution Victims by Guamidon Daudi
8602 PROOF of Claim Form For Summary Execution Victims by Buenaventura R. Cruz by
i Josephine C. Cruz
| 8603 | PROOF of Claim Form For Summary Execution Victims by Baina Omar by Sanggaton
i Omar
8604 : PROOF of Claim Form For Summary Execution Victims by Deonga Bituanan by Had#i
Unes M. Bituanan
8605 | PROOF of Claim Form For Summary Execution Victims by Deonga Bituanan by Had ji
Unos M. Bituanan
8606 | PROOF of Claim Form For Summary Execution Victims by William Vineent Acuna Begg b

Zenaida A. Bege

eS

38607 RESPONSE of imeida R. Marcos And Ferdinand E. Marcos IN OPPOSITION To Plaintifé
Class’ Motion to Terminate Settlement Agreement And Alternative Motion To

Amend or Modify Judgment - [Cv 86-333, 86-396]

20 | 8608 | PROOF of Claim Form For Totture Victims by Senando Grueze, Deceased by Linda

: Gruenzo

8609 | PROOF of Claim Form For Torture Victims by Daniel Taladua Adlaon, Jr.

8610 | PROOF of Claim Form For Torture Victims by Francis H. Torraliba, Deceased by
Nicomedes H, Torraliba

8611 PROOF of Claim Form For Torture Victims by Ricardo A. Santolorin

8612 | PROOF of Claim Form For Torture Victims by Fernando E. Abijay, Deceased by Esther
A. Pirante

8613 | PROOF of Claim Form For Torture Victims by Rosalinda A. Abijay, Deceased by Esthey
A. Pirante

8614 | PROOF of Claim Form For Torture Victims by Quintin Ulpindo Valdez

8615 | PROOF of Claim Form For Torture Victims by Cesar Laus Beloria

8616 | PROOF of Claim Form For Torture Victims by Gaudencio Ogario, Deceased by Corazon
0. Lumagbas

8617 | PROOF cf Claim Form For Torture Victims by Herminia APostol

8618 | PROOF of Claim Form For Torture Victims by Francis C. Abad, Deceased by Urbano R.
Abad and Pascuala C. Abad

8619 | PROOF of Claim Form For Torture Victims by Restituto V. Domingo

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CIVIL DOCKET CONTINUATION SHEET
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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION |
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DATE NR. PROCEEDINGS
1999
May 20 8620 PROOF of Claim Form For Torture Victims by Ildefonso Basada, Deceased by Cresencit
Basada
8621 PROOF of Claim Form For Torture Victims by Nelia A. Lansang
8622! PROOF of Claim Form For Torture Victims by Carlos A, Ching
8623 PROOF of Claim Form For Torture Victims by Pio Batulanon, Deceased by Fely Vda De
Jubilan
8624, PROOF of Claim Form For Torture Victims by Pacifico Baco Manliguez, Deceased hy
eo Catalina Tanso~Manliguez
8625 PROOF of Claim Form Fer Torture Victims by Isidro Pingkian Tumicua

8626 | PROOF of Claim Form For Torture Victims by Miguel Sesio Guballo, Deceased by Lorne
G. Luteria

8627 PROOF of Claim Form for Torture Victins by Asuncion Jasojaso-Guballo, Deceased
by Lorna G. Luteria

8628 | PROOF of Claim Form For Torture Victims by Romeo Q. Doretan

8629 PROOF of Claim Form For Torture Victims by Sirfrance Gecomo, Deceased by Clara
J. Gecomo

8630 | PROOF of Claim Form For Torture Victims by Diomedes F. Madrenio

8631 PROOF cf Claim Form For Torture Victims by Rafael Carlan Buiza

8632 | PROOF of Claim Form For Torture Victims by Nelson Buiza y Garlan, Deceased by

Geronimo 2. Eduarte, Jr.
8633 | PROOF of Claim Form For Torture Victims by David Lorilla y Rivero, Deceased by
Teresa L. Lazarte
8634; PROOF of Claim Form For Terture Victims by Bonifacio Gacusan
8635 | PROOF of Claim Form For Torture Victims by Manuela S. Pimentel
8636 | PROOF of Claim Form For Torture Victims by Valeriane P. Baniaga
8637 | PROOF of Claim Form For Torture Victims by Ernesto B, Alba
8638 | PROOF of Claim Form For Torture Victims by Maria Nelita §. Bendijo
8639 | PROOF of Claim Form For Torture Victims by Urbano R. Abad and Pascuala delaCerna
8640 | PROOF of Claim Form For Torture Victims by Gregorio Silva Visitacion
8641, PROOF of Claim Form For Disapperance Victims by Raul Santos Angeles by Carmen

Angeles-Ching

8642; PROOF of Claim Form For Disapperance Victims by Jose A. Ducalang

8643 | PROOF of Claim Form For Disapperance Victims by Constancio Parade by Rosita P.
Cortez

8644 | PROOF of Claim Form For Disapperance Victims by Romulo L. Tanudtanud by Renilla
N. Tanudtanud

8645 | PROOF of Claim Form For Summary Execution Victims by Sabang Sendad by Nasser
Sendad

8646 | PROOF of Claim Form For Summary Execution Victims by Oscar M. Sadaya by Anamaria
Sadaya Lantayona

8647 | PROOF of Claim Form For Summary Execution Victims by Rolando M. Federis by Dionish
Federis, Sr.
8648 | PROOF of Claim Form For Summary Execution Victims by Oscar M. Sadaya by Anamaria §
Lantayona

8649 | PROOF of Claim Form For Summary Execution Victims by Cecilio C. Kahulugan by
Jean 5. Kahuiugan

8650 | PROOF of Claim Form For Summary Execution Victims by Renato D. Calara by Pedro ¥.
Calara

8651 PROOF of Claim Form For Summary Execution Victims by
Molod

Malaida Molod by Norodin

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1999
May 20 8652 PROOF of Claim Form For Summary Execution Victims by Zalika Mamalangat by Norodin
: Molod
(8653 PROOF of Claim Form For Summary Execution Victims by Juanito Pabua Cabarles by
: : Nenita C. Laban
/8654 “PROOF of Claim Form For Summary Execution Victims by Bonifacie Bulat-Ag by
Demetrio Bulat-Ag
8655 PROOF of Claim Form For Summary Execution Victims by Alberto A. Brazil by Glicerid
: LL. Brazil
/8656 PROOF of Claim Form For Summary Execution Victims by Mamalangat Malod by Norodin
: Melod
8657 : STATEMENT by Esther A. Pirante, et al.
21 -8658 PROOF of Claim Form For Torture Victims by Baltazar A. Pinguel
(6659 PROOF of Claim Ferm For Torture Victims by Romeo Greta
°8660 . PROOF of Claim Form For Torture Victims by Ramon F. Greta
‘8661 PROOF of Claim Form For Torture Victims hy Loreta L. Greta
8662 PROOF of Claim Form Fer Torture Victims by Domingo Ramos
8663 PROOF of Claim Form For Torture Victims by Doroteo Diaz, Sr.
8664 PROOF of Claim Form For Torture Victims by Adelmo Diaz
$665 PROOF of Claim Form For Torture Victims by Teresita G. Diaz
8666 | PROOF of Claim Form For Torture Victims by Melliana C. Gueta
8667 PROOF of Claim Form For Torture Victims by Violeta G. Diaz
8668 (PROOF of Claim Form For Torture Victims by Winny G. Diaz
(8669 | PROOF of Claim Form For Torture Victims by Romulo G. Diaz
| 8670 | PROOF of Claim Form For Torture Victims by Mario Hapon
8671 | PROOF of Claim Form For Torture Victims by Rene G. Diaz
8672 PROOF of Claim Form For Torture Victims by Sherma G. Diaz
8673 PROOF of Claim Form For Torture Victims by Alberto Enario
8674 (PROOF of Claim Form For Torture Victims by Jolito Maluya, Deceased by Plabiano
Maluya, Sr.
8675 | PROOF of Claim Form For Torture Victims by Atanacio Baguiran
8676 | PROOF of Claim Form For Torture Victims by Pilot K. Bante, Deceased by Saguira B.
Usop
8677 | PROOF of Claim Form For Torture Victims by Jose Gargallo
8678 | PROOF of Claim Form For Torture Victims by Manuel Osabal
8679 | PROOF of Claim Form For Torture Victims by Basilio A. Vidad
8680 | PROOF of Claim Form For Torture Victims by Danilo Bisquera Galang
8681 | PROOF of Claim Form For Torture Victims by Patnubay S. Roque
8682 | PROOF ef Claim Form For Torture Victims by Marvyn N. Benaning
8683 | PROOF of Claim Form For Torture Victims by Oliver G. Teves
8684 |PROOF of Claim Form For Torture Victims by Wirquin Marchan
8685 | PROOF of Claim Form For Torture Victims by Edwin Capulas
8686 | PROOF of Claim Form For Torture Victims by Nemesio G. Gueta
8687 PROOF of Claim Form For Torture Victims by Ricarde Bautista, Jr.
8688 | PROOF of Claim Form For Torture Victims by Bernardo Garais
8689 |PROOF of Claim Form For Torture Victims by Josefina Garais
8690 | PROOF of Claim Form For Torture Victims by Rudy L. Gueta
8691 | PROOF of Claim Form For Torture Victims by Crispin G. Lacsa
8692 PROOF of Claim Form For Torture Victims by Diojenes J. Gueta
8693 | PROOF of Claim Form For Torture Victims by Pacifico E. Halcon
8694 |/PROOF of Claim Form For Torture Victims by Tomas €. Laurel
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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION
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BATE NR. PROCEEDINGS
1999
May 21 (8695 PROOF of Claim Form For Torture Victims by Rodolfo Bueza
8696 (PROOF of Claim Form For Torture Victims by Jose Ramos Sanchez
8697 PROOF of Claim Form For Torture Victims by Mariano J. Pimentel
8698 (PROOF of Claim Form For Torture Victims by Prudencio Geneblazo, Deceased by
Olympiada Vda. De Geneblazo
8699 (PROOF of Claim Form For Torture Victims by Rufino Fuentes
8700 |PROOF of Claim Form For Torture Victims by Martin Fuellas
© 8701 (PROOF of Claim Form For Torture Victims by Regelio F. Fulgar
8702 (PROOF of Claim Form For Torture Victims by Manuel C. Forteo
8703 |PROOF of Claim Form For Torture Victims by Domingo 2. Fraga
8704 (PROOF of Claim Form For Torture Victims by Democrita Fuga
8705 |PROOF of Claim Form For Torture Victims by Benito Gacias
8706 (PROOF of Claim Form For Torture Victims by Alfredo Fugen
8707 (PROOF of Claim Form For Torture Victims by Rubio Furio
8708 (PROOF of Claim Form For Torture Victims by Romulo Galindes
8709 PROOF of Claim Form For Torture Victims by Pedro Espano
8710 :PROOF of Claim Form For Torture Victims by Domingo Frago, Jr.
3711 (PROOF of Claim Form For Torture Victims by Tirso F. Gacos
8712 |PROOF of Claim Form For Torture Victims by Benjamen Fraga
8713 (PROOF of Claim Form For Torture Victims by Gil S. Calizo
8714 (PROOF of Claim Form For Torture Victims by Guillermo Gabion
8715 |PROOF of Claim Form For Torture Victims by Resurreccione Lao-Manalo
4716 |PROOF of Claim Form For Torture Victims by Rolando P. Cagaway
8717 |PROOF of Claim Form For Torture Vietims by Angelo D. Campom, Deceased by Jean C.
Gabitan
8718 (PROOF of Claim Form For Torture Victims by Narciso Peralta
8719 [PROOF of Claim Form For Disappearance Victims by Antonio Sta. Ana by Geraldine
Sta. Ana
8720 iPROOF of Claim Form For Disappearance Victims by Efepanio Ebias by Rosita L.
Ebias
8721 (PROOF of Claim Form For Disappearance Victims by Napoleon 8. Layag by Madelena
eo B. Layag
8722 PROOF of Claim Form For Disappearance Victims by Salema Manedsin by Manyao
Manedsin
8723 |PROOF of Claim Form For Disappearance Victims by Kowawan Manedsin by Manyao
Manedsin .
8724 ‘PROOF of Claim Form For Disappearance Victims by Danilo Brozas Tuba by Sofronio
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8725 |PROOF of Claim Form For Disappearance Victims by Erenio Carreon by Maria C.
Lerion
8726 \PROOF of Claim Form For Disappearance Victims by Saligandang Dalonan by Galing
Saligandang
8727 ‘PROOF of Claim Form For Disappearance Victims by Aracili Garais by Josefina Garais
8728 |PROOF of Claim Form For Disappearance Victims by Bernardo Garais, Jr. by Josefina
Garais
8729 PROOF of Claim Form For Summary Execution Victims by Nito A. Diaz by Elordy A.
Diaz
8730 (PROOF of Claim Form For Summary Execution Victims by Marie G. Lasca by Alfredo G.
Lasca
8731 |PROOF of Claim Form For Summary Execution Victims by Omal Bansilan by Guinandang
L. Bansilan
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May 21 © 8732) PROOF of Claim Form For Summary Execution Victims by Kadil Dimampao by Guinandang
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: 8733 PROOF of Claim Form For Summary Execution Victims by Kantua Bansilan by Guinandang
: L. Bansilan
8734 PROOF of Claim Form For Summary Execution Victims by Sabaniya Abedin by Guinandang
: i L. Bansilen
/ 8735 PROOF of Claim Form For Summary Execution Victims by Ekid Bansilan by Guinandang
i : L. Bansilan
8736 ; PROOF of Claim Form For Summary Execution Victims by Udin Manabilang by Manabilan
i Mangoata
/ 8737 ° PROOF of Claim Form For Summary Execution Victims by Daud Buka by Kasla Buka
: 8738 ° PROOF of Claim Form For Summary Execution Victims by Balintina Parinding by
: Parinding Baliwan
8739) PROOF of Claim Form For Summary Execution Victims by Suiapal Unos by Unos Baliwan
8746 | PROOF cf Claim Form For Summary Execution Victims by Punkat Baliwan by Abdulkalim
Baliwan
/ 8741 PROOF of Claim Form For Summary Execution Victims by Elioterio 8. Diaz by Rico G.
i Diaz
8742 PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by
Rudy B. Romano by Cleofe-Esdras Romano Villanueva

24 8743 PROOF of Claim Form For Torture Victims by Henry H. Francia

8744 | PROOF of Claim Form For Torture Victims by Beatriz Romualdez Francia

8745 | PROOF of Claim Form For Torture Victims by Muriel Dela Cruz

8746 | PROOF of Claim Form For Torture Victims by Juanito B. Erandio

8747 | PROOF of Claim Form For Torture Victims by Armando 8. Sapinoso

8748 | PROOF of Claim Form For Torture Victims by Alfredo Hadap, Deceased by Constancia
: Generalo

8749 | PROOF of Claim Form For Torture Victims by Posdan Saligandang

8750 | PROOF of Claim Form For Torture Victims by Jose P. Abantao

8751 | PROOF of Claim Form For Torture Victims by Efrain J. Paredes

8752 | PROOF of Claim Form For Torrure Victims by Azucena P. Pestano

8753 | PROOF of Claim Form For Torture Victims by Marina C. Pulvera é
8754 | PROOF of Claim Form For Torture Victims by Zosimo Galvez

8755 | PROOF of Claim Form For Torture Victims by Claro A. Abarracoso, Deceased by
Noel A. Abarracose

8756 | PROOF of Claim Form For Torture Victims by Romeo M. Mabag

8757 | PROOF of Claim Form For Torture Victims by Petronilo M. Paza-01

8758 |; PROOF of Claim Form For Torture Victims by Patrecinio A. Biasong

8759 | PROOF of Claim Form For Torture Victims by Romeo Jacinto Pestano

8760 | PROOF of Claim Form For Torture Victims by Nelson D. Mallari

8761 | PROOF of Claim Form For Torture Victims by Leopoldo A. Paca-O1

8762 | PROOF of Claim Form For Torture Victims by Aida Mirasol-Ricarze

8763 - PROOF of Claim Farm For Torture Victims by Cueofe S. Velasquez-Ocampo
8764 (PROOF of Claim Form For Torture Victims by Arnel Villorente Salvador
8765 PROOF of Claim Form For Torture Victims by Maria Salome Crisostomo-T jane
8766 | PROOF of Claim Form For Torture Victims by Victorino C. Ujano

8767 | PROOF of Claim Form For Torture Victims by Nilo 8. Ocampo

8768 | PROOF of Claim Form For Torture Victims by Matiano R. Masangkay

8769 (PROOF of Claim Form For Torture Victims by Romeo R. Bitancor

8770 | PROOF of Claim Form For Torture Victims by Frorio B. Maximo

8771 | PROOF of Claim Form For Torture Victims by Lourdes G. Maximo

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NR. PROCEROINGS

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May 24 8772, PROOF of Claim Form For Torture Victims by Cezar B. Diaz
8773 PROOF of Claim Form For Torture Victims by Jose G. Sanone
8774, PROOF of Claim Form For Torture Victims by Guillermo Cabando
8775} PROOF of Claim Form For Torture Victims by Norman F. Quimpo
8776) PROOF of Claim Form For Torture Victims by Jose Rivers Gacho, Deceased by Melinda
Gacho Valenzuela
8777] PROOF of Claim Form For Torture Victims by Angelina Avila Taghog
©} 8778; PROOF of Claim Form For Torture Victims by Mamerto Moratalla
8779! PROOF of Claim Form For Torture Victims by Aray Bawan and Pabling Bawan, Deceased

by Mayang Bawan
8780 PROOF of Claim Form For Torture Victims by Bantayan Pabian, Deceased by Seren
Bantayan
878] | PROOF of Claim Form For Torture Victims by Leonor C. Sevilla
8782! PROOF of Claim Form For Torture Victims by Antonio C. Moncupa, Jr.

8783 PROOF of Claim Form For Torture Victima by Percival L. Palmes
8784 PROOF of Claim Form For Torture Victims by Harold C. Lorenzo
8785 PROOF of Claim Form For Torture Victims by Leonila €. Lorenzo
8786 | PROOF of Claim Form For Torture Victims by Nicolas Gapisan Benuagen
8787 | PROOF of Claim Form For Torture Victims by Lingan Siddayao
@ 8788 | PROOF of Claim Form For Torture Victims by Amir L. Baluarte

8789 | PROOF of Claim Form For Torture Victims by Gloria Sanchez-Tinapay
8790 PROOF of Claim Form For Torture Victims by Domingo Orbillo, Deceased by Raul
Orcpesa
8791: PROOF of Claim Form For Torture Victims by Jose L. Osabal
8792 | PROOF of Claim Form For Torture Victims by Banizal Gavino
8793) PROOF of Claim Form For Torture Victims by Ruben P. Gavino
8794 | PROOF of Claim Form For Terture Victims by Francisco Gavino
8795 | PROOF of Claim Form For Torture Victims by Dominador Gavino
8796 | PROOF of Claim Form For Torture Victims by Gracela Dela Cruz
8797 | PROOF of Claim Form For Torture Victims by Rodrigo C. Surposa
8798 PROOF cf Claim Form For Torture Victims by Rodrigo C. Surpesa
8799 | PROOF of Claim Form For Torture Victims by Edgardo M. Buenaventura
© 8800 | PROOF of Claim Form For Torture Victims by Felomeno ¥. Clet
8801 PROOF af Claim Form For Torture Victims by George Ringor Castillo
8802 | PROOF of Claim Form For Torture Victims by Zosimo Obinguar
8803 | PROOF of Claim Form For Torture Victims by Marianito Delmonte
8804 | PROOF of Claim Form For Torture Victims by Tiburcio Babon, Jr.
8805; PROOF of Claim Form For Torture Victims by Pedro C. Peraleja
8806 | PROOF of Claim Form For Torture Victims by Tomas M. Abarracoso
8807 | PROOF of Claim Form For Torture Victims by Porferio A. Galla
8808 | PROOF of Claim Form For Torture Victims by Carlito Libutano
8809 PROOF of Claim Form For Torture Victims by Constancio Cabigayan, Deceased by Rosit
Cabigayan
8810 | PROOF of Claim Form For Torture Victims by Leonilo Mabag
8811 | PROOF of Claim Form For Torture Vietims by Arsenio P. Abantao
8812 | PROOF of Claim Form For Torture Victims by Rufino A. Babon
8813 | PROOF of Claim Form For Torture Victims by Teodoro Babon
8814 | PROOF of Claim Form For Torture Victims by Herminigilda Abarracoso
8815 | PROOF of Claim Form For Torture Victims by Paquito BD. Abayare
8816 | PROOF of Claim Form For Torture Victims by Rufo Abarracoso
8817 | PROOF of Claim Form For Torture Victims by Fortunato M. Paca-O1
8818 | PROOF of Claim Form For Torture Victims by Pedro M. Gabutin

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8820 ) PROOF of Claim Form For Torture Victims by Eufemia M. Abantao
8821 PROOF of Claim Form For Torture Victims by Jaime A. Cabutin
8822 PROOF of Claim Form For Torture Victims by Rodrigo Cabansan
8823 | PROOF of Claim Form For Torture Victims by Gloriose Ildefonso
: 8824 PROOF of Claim Form For Torture Victims by Melecio C. Cabigayan
8825 PROOF of Claim Form For Torture Victims by Welfredo M. Mayo
8826 PROOF of Claim Form For Torture Victims by Fransisco C. Sumampong
- 8827 9 PROOF of Claim Form For Torture Victims by Patrocenio Eyas, Deceased by William
: Eyas
8828 | PROOF of Claim Form For Torture Victims by Dante G. Esquivel
8829 . PROOF of Claim Form For Torture Victims by Ernesto S$. Salunat
8830 | PROOF of Claim Form For Torture Victims by Ena Labarda-Abaigar
8831 | PROOF of Claim Form For Torture Victims by Leonilo Ocasla
8832 PROOF of Claim Form For Torture Victims by Nonito Calutan
° 8833 PROOF of Claim Form For Torture Victims by Julian P. Abanag
8834 PROOF of Claim Form For Torture Victims by Pedro B. Latorre, Deceased by Felipe
| A. Latorre
8835 | PROOF of Claim Form For Disappearance Victims by Dolores L. Pineda by David L.

Pineda

8836 | PROOF of Claim Form For Disappearance Victims by David L. Pineda

8837 | PROOF of Claim Form For Disappearance Victims by Ricardo V. Barque

: 8838 | PROOF of Claim Form For Disappearance Victims by Jesus Camposano

'8839 | PROOF of Claim Form For Disappearance Victims by Saligandang Datonan by Galing
Saligandang

8840 | PROOF of Claim Form For Disappearance Victims by Leonila Bacongga by Elizabeth
Bacongga Bullecer

&841 | PROOF of Claim Form For Disappearance Victims by Kaligatong Dagadas by Tato
Sambutuan

8842 PROOF of Claim Form For Summary Execution Victims by Espedite Bulan by Merculina
B. Ramoran

8843 | PROOF of Claim Form For Summary Execution Victims by Teofilo B. Panorel by
Quirino N. Panorel

8844 |) PROOF of Claim Form For Summary Execution Victims by Trifonio N. Andres by

i Gracelda N. Andres

8845 | PROOF of Claim Form For Summary Execution Victims by Daniel V. Galvez by Ernesto

V. Galvez

8846 | PROOF of Claim Form Por Summary Execution Victims by Carilto Glorioso by Jaime R.
Glorioso

8847 | PROOF of Claim Form For Summary Execution Victims by Catalino M. Adobo by Pablito
M. Adobo

8848 PROOF of Claim Form For Summary Execution Victims by Inego B. Abina by Danilo B.
Abina

8849 | PROOF of Claim Form For Summary Execution Victims by Mario 8. Ogeng by Librada A.
Ogong

8850 | PROOF of Claim Form For Summary Execution Victims by AIda M. Ogong by Librada A.
Ogong

8851 | PROOF of Claim Form For Summary Execution Victims by Rogelio P. Limbo by Perla T.
Limbo

8852 PROOF of Claim Form For Summary Execution Victims by Mohamedin C. Ali by Ngena M.
Singel

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8854 PROOF of Claim Form For Summary Execution Victims by Felix Cruz by Felicidad Gc.
Cruz .
8855 |PROOF of Claim Form For Summary Execution Victims by Carlito L. Cabigayan by
Juanito B. Cabigayan
8856 PROOF of Claim Form For Summary Execution Victims by Victoriano B. Abantao by
Fortuna Abantao
8857 PROOF of Claim Form For Summary Execution Victims by Rosita A. Pacayra by Melecia
A. Pacayra
8858 iPROOF of Claim Form For Summary Execution Victims by Zosimo Labade by Carlito
Libutano
8859 PROOF of Claim Form For Summary Execution Victims by Virgilio B. Batula by Felipe
S. Batula
8860 |PROOF of Claim Form For Summary Execution Victims by Teofilo A. Latorre by Anita
A. Latorre
8861 PROOF of Claim Form For Summary Execution Victims by Noraisa Adam by Abdulmanan
G. Calim
8862 (PROOF of Claim Form For Summary Execution Victims by Belly Calgas by Luciano
Ongay
8863 |PROOF of Claim Form For Summary Execution Victims by Datu Ali Antao
8864 (PROOF of Claim Form For Summary Execution Victims by Francisco P. Gavino by
Ruben Gavino
8865 (PROOF of Claim Form For Summary Execution Victims by dito Balabol by Belinda
Balabol
8866 {PROOF of Claim Form For Summary Execution Victims by Joseph A. Abantao by Felimon
Abantao
8867 (PROOF of Claim Form For Summary Execution Victims by Leopoldo Marajas by Leon R.
Marajas
8868 (PROOF of Claim Form For Summary Execation Victims by Latip Betuanan by Abusama
Betuanan
8869 PROOF of Claim Form For Summary Execution Victims by Noraida Betuanan by Abusama
Betuanan
8870 |PROOF of Claim Form For Summary Execution Victims by RKuyat A. Aton by Mohamadtaha
A. Usop
8871 /PROOF of Claim Form For Summary Execution Victims by Galib A. Usop by Mohamadtaha
A. Usop
8872 jPROOF of Claim Form For Summary Execution Victims by Datu Tiliban §. Mamadra by
Candelaria R. Mamadra
8873 PROOF of Claim Form For Summary Execution Victims by Pepito Solano Sablad by Thelna
8. Lubao
8874 PROOF of Claim Form For Summary Execution Victims by Felomino L. Pazayra by
Melecia A. Pacayra
8875 PROOF of Claim Form For Summary Execution Victims by Leonardo DBD, Jabonte by
Gertrudes J. Biasong
8876 iPROOF of Claim Form For Summary Execution Victims by Marciano Osiman by Benita B.
Abanag
8877 (PROOF of Claim Form For Summary Execution Victims by Reberto A. Abarquez by Pedro
A. Batula
8878 |PROOF of Claim Form For Summary Execution Victims by Cecilio A. Batula by Pedro
A. Batula

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May 24 | 8879 : PROOF of Glaim Form For Summary Execution Victims by Angel F. Matondse, II by
: Annalee Matondo Velesrubio
8880 | PROOF of Claim Form For Summary Execution Victims by Angel L. Matondo, Jr. by
: Annalee Matondo Velesrubio
8881 | PROOF of Claim Form For Summary Execution Victims by Federico P. Acie by Josefa
i V. Acio
8882 | PROOF of Claim Form For Torture, Summary Execution And Disappearance Victims by
Leila BD. Palabay @
: 8883 | PROOF of Claim Form For Torture, Summary Execution And Disappearance Victims by
: Helen L. Toledo
8884 PROOF of Claim Form For Disappearance Victims by Abdula Korekan and Bagunto
Korekan by Khalid Ocom, Guinten Khalid and Tato Abdilla

25 8885 PROOF of Claim Form For Torture Victims by Charlie R. Palma, Deceased by Rosaric

: S. Palma

8886 | PROOF of Claim Form For Torture Victims by Rosario C. Saivador-Palma
8887 PROOF of Claim Form For Torture Victims by Reynaldo I. Cuerdo

/8888 PROOF of Claim Form For Torture Victims by Jim G. Garais

/8889 PROOF of Claim Form For Torture Victims by Antonio L. Concepcion
8890 | PROOF of Claim Form For Torture Victims by Minerva Francisco Concepcion

8891 | PROOF of Claim Form For Torture Victims by Rosalina Borja €
8892 | PROOF of Claim Form For Torture Victims by Lito S. campo

8893 | PROOF of Claim Form For Torture Victims by Danilo Q. Dagatan, Deceased by Pedro C
Bagundol

8894 PROOF of Claim Form For Torture Victims by Diosdada E. Colanse

/8895 | PROOF of Glaim Form For Torture Victims by Benedicto Makil

8896 | PROOF of Claim Form For Torture Victims by Zakalia Sabpeten

8897 | PROOF of Claim Form For Torture Victims by Valentino Batay~an

8898 PROOF of Claim Form For Torture Victims by Datu Omar Mastura

8899 PROOF of Claim Form For Tarture Victims by Jose Asis, Deceased by Arnulfo Asis
8900 | PROOF of Claim Form For Torture Vietims by Jeremias A. Aquino, Deceased by

Bernadette T. Aquino
8901 | PROOF of Claim Form For Torture Victims by Eufroncio T. Santos @
8902 | PROOF of Claim Ferm For Torture Victims by Federico A. Cahanap
8903 | PROOF of Claim Form For Torture Victims by Fernando Quinzon Galiarde
8904 | PROOF of Claim Form For Torture Victims by Leopoldo Rasco, Deceased by Tita Rasco
8905 | PROOF of Claim Form For Torture Victims by Nestor Andra je
$906 (PROOF of Claim Form For Torture Victims by Bernadette T. Aquino
8907 | PROOF of Claim Form For Torture Victims by Eduardo Cabornay
8908 | PROOF of Claim Form For Torture Victims by Bob Chua
8909 PROOF of Claim Form For Disappearance Victims by Danilo V. Deldoc by Consolacion
¥. Beldoc
8910 »PROOF of Claim Form For Disappearance Victims by Usman Damdat, Abdillah Usman and
Abdul Usman by Said Usman
8911 (PROOF of Claim Form For Disappearance Victims by Salimenang Mangansakan by Nida

Salimenang Ugalingan
8912 PROOF of Claim Form For Disappearance Victims by Urbana Bodiongan by Librada

Bodiongan

8913 | PROOF of Claim Form For Disappearance Victims by Bodiongan Ubrada by Librada
Bodiongan

8914 | PROOF of Claim Form For Disappearance Victims by Abduimutalib Kalipapa by Mastura
Kalipapa

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